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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                       BILLINGS DIVISION

UNITED STATES OF AMERICA,                 CR-16-68-BLG-SPW-CSO

            Plaintiff,
                                                FINDINGS AND
      vs.                                  RECOMMENDATION OF
                                          U.S. MAGISTRATE JUDGE
MATTHEW KEITH PRICE,

            Defendant.

     The Defendant, by consent, appeared before me under Fed. R.

Crim. P. 11 and entered pleas of guilty to the following counts stated in

the Superseding Information (ECF No. 53):

     (1) Count I, which charges Conspiracy to Possess
     Methamphetamine with Intent to Distribute, in violation of 21
     U.S.C. Section 846, and

     (2) Count II, which charges Conspiracy to Commit Money
     Laundering, in violation of 18 U.S.C. Section 1956(h).

     After examining the Defendant under oath, the Court determined:

     1. That the Defendant is fully competent and capable of entering

an informed and voluntary plea to the criminal offense charged against
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him;

       2. That the Defendant is aware of the nature of the charge

against him and the consequences of pleading guilty to the charge;

       3. That the Defendant fully understands his pertinent

constitutional rights and the extent to which he is waiving those rights

by pleading guilty to the criminal offense charged against him; and

       4. That his plea of guilty to the criminal offense charged against

him is knowingly and voluntarily entered, and is supported by

independent factual grounds sufficient to prove each of the essential

elements of the offense charged.

       The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that Defendant fully

understands each and every provision of the agreement and that all of

the statements in the Plea Agreement are true.

       Therefore, I recommend that the Defendant be adjudged guilty of

Counts I and II of the Superseding Information and that sentence be

imposed.

       Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days after the filing of the
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Findings and Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim.

P 59(b)(2).

     DATED this 31st Day of October, 2016.

                                  /s/ Carolyn S. Ostby
                                  United States Magistrate Judge
